                                                      Case 2:20-cv-02307-RFB-BNW Document 6
                                                                                          5 Filed 01/11/21
                                                                                                  01/06/21 Page 1 of 2



                                    1           DIANA G. DICKINSON, ESQ., Bar No. 13477
                                                LITTLER MENDELSON, P.C.
                                    2           3960 Howard Hughes Parkway
                                                Suite 300
                                    3           Las Vegas, NV 89169-5937
                                                Telephone:   702.862.8800
                                    4           Fax No.:     702.862.8811
                                                Email:       ddickinson@littler.com
                                    5
                                                Attorney for Defendant
                                    6           BACKGROUNDCHECKS.COM LLC

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                                    8                                             UNITED STATES DISTRICT COURT
                                    9                                                 DISTRICT OF NEVADA
                                10

                                11              ROOSEVELT NEROES,                                 Case No. 2:20-cv-02307-RFB-BNW

                                12                                   Plaintiff,

                                13              vs.                                               STIPULATION TO EXTEND TIME FOR
                                                                                                  DEFENDANT
                                14              BACKGROUNDCHECKS.COM,                             BACKGROUNDCHECKS.COM LLC TO
                                                                                                  FILE RESPONSIVE PLEADING
                                15                                   Defendant.
                                                                                                  [FIRST REQUEST]
                                16

                                17

                                18                       Plaintiff       ROOSEVELT            NEROES           (“Plaintiff”)      and        Defendant

                                19              BACKGROUNDCHECKS.COM LLC (“Defendant”), by and through their undersigned counsel,

                                20              hereby agree and stipulate to extend the time for Defendant to file a response to the Complaint from

                                21              the current deadline of January 13, 2021, up to and including February 12, 2021.

                                22                       The requested extension is necessary in light of the fact that Defendant’s counsel was recently

                                23              retained. The additional time will allow defense counsel to conduct a complete investigation into the

                                24              allegations and to prepare a response to the Complaint.

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                                    1                    This is the first request for an extension of time to respond to the Complaint. This request is

                                    2           made in good faith and not for the purpose of delay.

                                    3           Dated: January 6, 2021                             Dated: January 6, 2021
                                    4

                                    5

                                    6           /s/ Shawn Miller                                 /s/ Diana G. Dickinson
                                                DAVID KRIEGER, ESQ.                             DIANA G. DICKINSON, ESQ.
                                    7           SHAWN MILLER, ESQ.                              LITTLER MENDELSON, P.C.
                                                KRIEGER LAW GROUP, LLC
                                    8

                                    9           Attorneys for Plaintiff                         Attorney for Defendant
                                                ROOSEVELT NEROES                                BACKGROUNDCHECKS.COM LLC
                                10

                                11                                                                     IT IS SO ORDERED.
                                12                                                                                 January 11
                                                                                                       Dated: _____________________, 2021.
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                                                                                                       UNITED STATES MAGISTRATE JUDGE
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